Case 15-01145           Doc 7946        Filed 05/04/18 Entered 05/04/18 11:50:51               Desc Main
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                          UNITED STATES BANKRUPTCY COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

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                                                                        :
 In re:                                                                 :   Chapter 11
                                                                        :
 Caesars Entertainment Operating Company, Inc., et al., :                   Case No. 15-01145 (ABG)
                                                                        :
                            Debtors.                                    :
                                                                        :   Jointly Administered
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                         NOTICE OF WITHDRAWAL OF APPEARANCE

        Please take notice that Elizabeth B. Vandesteeg of Sugar Felsenthal Grais & Helsinger,

LLP, hereby withdraws her appearance as Local Counsel to Whitebox Advisors LLC in the above-

captioned bankruptcy proceedings, and requests that she be removed from all notice lists under

Bankruptcy Rule 2002 and via the Court’s CM/ECF system.

 Date: May 4, 2018                                              By: /s/ Elizabeth B. Vandesteeg

 Elizabeth B. Vandesteeg
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